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                                                                                          IN THE UNITED STATES DISTRICT COURT
                                   L.L.P.




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                                                                                                   FOR THE DISTRICT OF ARIZONA
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                                                                17
                                                                     Douglas A. Ducey, Governor of the State of
                                                                18   Arizona, in his official capacity,            No.
                                                                19                    Plaintiff,                   Complaint for Declaratory and
                                                                                                                   Injunctive Relief
                                                                20         v.
                                                                21   Janet Yellen, Secretary of the Treasury, in
                                                                     her official capacity; Richard K. Delmar,
                                                                22   Acting Inspector General of the Department
                                                                     of Treasury, in his official capacity; and
                                                                23   U.S. Department of the Treasury,
                                                                24                    Defendants.
                                                                25
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                                                                 1                                        INTRODUCTION
                                                                 2           “All legislative Powers herein granted shall be vested in a Congress of the United
                                                                 3                                     States…” U.S. Const. art. I, § 1.
                                                                 4          1.       The COVID-19 pandemic has created havoc in the lives of every citizen of
                                                                 5   our nation, and its biggest impact has been on our children. The loss of learning,
                                                                 6   socialization and opportunity has set our children back years, even with the great efforts
                                                                 7   made by parents and educators.
                                                                 8          2.       This is why the State of Arizona, through the Governor’s Office, implemented
                                                                 9   programs in accordance with federal law and regulations, using funds appropriated to it by
                                                                10   Congress, to bridge the gaps, get our children back in school and get them back on track
                                                                11   academically.
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                                                                12          3.       Yet, following implementation of these programs, Arizona has been put on
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                                                                13   notice that funding, along with the children and parents it assists, will be held hostage if
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                                                                14   Arizona fails to bend to the arbitrary and capricious authority of a federal regulatory agency.
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                                                                15          4.       Douglas A. Ducey, Governor of the State of Arizona, cannot allow this action
                                                                16   to stand without protest. The work of mitigating COVID-19 “belongs to state and local
                                                                17   governments across the country and the peoples elected representatives in Congress.” Nat’l
                                                                18   Fed’n of Indep. Bus. v. Dep’t of Labor, Occupational Safety & Health Admin., 2022 WL
                                                                19   120952, at *3 (U.S. Jan. 13, 2022) (Gorsuch, J., concurring).
                                                                20          5.       This case arises out of the U.S. Department of the Treasury (“Treasury”)
                                                                21   seeking to usurp Congressional power in the area of COVID-19 financial relief. Through
                                                                22   its attempted legislative action, Treasury seeks to deprive the State of Arizona of millions
                                                                23   of dollars in aid that Congress appropriated for the purpose of mitigating the negative
                                                                24   economic impacts of the COVID-19 pandemic—monies that are critically needed to recover
                                                                25   from the pandemic’s effects on education, including the remote learning that
                                                                26   disproportionately impacted low-income students. If these effects are not addressed, they
                                                                27   will have long-term economic, educational and social, consequences.
                                                                28          6.       The genesis of the dispute is Congress’s passage of the American Rescue Plan

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                                                                 1   Act of 2021 (“ARPA”). Among other things, ARPA created the Coronavirus State and
                                                                 2   Local Fiscal Recovery Fund (the “SLFRF”). In the text of ARPA, Congress specifically
                                                                 3   described the permissible uses of SLFRF monies by States and also specifically described
                                                                 4   restrictions on such uses.
                                                                 5          7.     Initially, Treasury—which was tasked with distributing SLFRF monies and
                                                                 6   creating implementing regulations—correctly recognized that ARPA gave the States
                                                                 7   “broad latitude to choose whether and how to use the [SLFRF funds] to respond to and
                                                                 8   address the negative economic impact” of COVID-19. Coronavirus State and Local Fiscal
                                                                 9   Recovery Funds, 86 Fed. Reg. 26786, 26794 (May 17, 2021) (emphasis added). Treasury
                                                                10   further recognized that one way for States to address the negative economic impact of
                                                                11   COVID-19 would be through programs focused on the educational impacts of remote or
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                                                                12   hybrid learning, which disproportionately affected low-income and minority students.
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                                                                13          8.     In accordance with Treasury’s statements, as well as the text of ARPA,
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                                                                14   Governor Ducey used some of the SLFRF monies to create two grant programs that
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                                                                15   addressed the long-term, negative economic impacts on disadvantaged communities from
                                                                16   school closures and overbearing mask mandates. The programs empower parents and
                                                                17   students to exercise their freedom to make informed decisions regarding their health and
                                                                18   educational needs.
                                                                19          9.     More recently, however, Treasury arbitrarily changed its guidance, and
                                                                20   through a clear abuse of discretion, is seeking to unilaterally amend ARPA by adding new
                                                                21   health conditions on how SLFRF monies may be used. In particular, and even though
                                                                22   Treasury has no background expertise in public health, Treasury recently issued a Final
                                                                23   Rule that purports to prohibit SLFRF monies from being used in a manner that, in the
                                                                24   subjective and ill-informed opinion of Treasury, would undermine efforts to stop the spread
                                                                25   of COVID-19. Based on its policy objections to the two grant programs referenced above,
                                                                26   Treasury has also indicated to Governor Ducey that, even though this Final Rule does not
                                                                27   become effective until April 1, 2022, the Rule somehow authorizes Treasury to: (1) recoup
                                                                28   SLFRF monies distributed to the State; and (2) withhold future SLFRF distributions.

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                                                                 1          10.    Treasury’s actions far exceed the statutory authority granted to it under
                                                                 2   ARPA. Nothing in that underlying statute authorizes Treasury to condition the use of
                                                                 3   SLFRF monies on following measures that, in the view of Treasury, stop the spread of
                                                                 4   COVID-19. If Congress had truly intended to give Treasury the power to dictate public
                                                                 5   health edicts to the States, and recoup or withhold SLFRF monies based on an alleged lack
                                                                 6   of compliance with such edicts, it would have spoken clearly on the matter. It did not.
                                                                 7   Moreover, even if Treasury were correct that ARPA conferred it the broad authority it now
                                                                 8   claims to attach new conditions on SLFRF monies, then the statute would violate the
                                                                 9   Spending Clause of the U.S. Constitution and the non-delegation doctrine. This Court
                                                                10   should declare the Final Rule invalid, declare that Treasury has acted arbitrarily and
                                                                11   capriciously and has abused its discretion, and enjoin Treasury’s legislative overreach.
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                                                                12                             PARTIES, JURISDICTION AND VENUE
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                                                                13          11.    Plaintiff Douglas A. Ducey is the Governor of the State of Arizona. Under
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                                                                14   Arizona law, Governor Ducey is the official authorized to accept and expend funds received
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                                                                15   from the federal government or any agency thereof. See Ariz. Rev. Stat. § 41-101.01(A).
                                                                16   Pursuant to this authority, Governor Ducey has accepted and expended SLFRF monies.
                                                                17   Additionally, Governor Ducey serves as the sole State official responsible for
                                                                18   communications between the State of Arizona and the federal government. See Ariz. Rev.
                                                                19   Stat. § 41-101(A)(4).
                                                                20          12.    Defendant Janet L. Yellen is the Secretary of the Treasury of the United States
                                                                21   and is named in her official capacity.
                                                                22          13.    Defendant Richard K. Delmar is the Acting Inspector General of the
                                                                23   Department of the Treasury and is named in his official capacity. On information and belief,
                                                                24   the Inspector General is responsible for monitoring and oversight of COVID-19 relief funds
                                                                25   that have been disbursed to the States, and is generally responsible for informing and
                                                                26   advising the Secretary of the Treasury about programs administered by Treasury and the
                                                                27   need for corrective action.
                                                                28          14.    Defendant the U.S. Department of the Treasury is an agency of the United

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                                                                 1   States. Treasury is not a public health agency and does not have expertise in this area.
                                                                 2   Rather, on its website, Treasury describes its role as follows:
                                                                 3                 The Treasury Department is the executive agency responsible
                                                                                   for promoting economic prosperity and ensuring the financial
                                                                 4                 security of the United States. The Department is responsible for
                                                                                   a wide range of activities such as advising the President on
                                                                 5                 economic and financial issues, encouraging sustainable
                                                                                   economic growth, and fostering improved governance in
                                                                 6                 financial institutions. The Department of the Treasury operates
                                                                                   and maintains systems that are critical to the nation's financial
                                                                 7                 infrastructure, such as the production of coin and currency, the
                                                                                   disbursement of payments to the American public, revenue
                                                                 8                 collection, and the borrowing of funds necessary to run the
                                                                                   federal government. The Department works with other federal
                                                                 9                 agencies, foreign governments, and international financial
                                                                                   institutions to encourage global economic growth, raise
                                                                10                 standards of living, and to the extent possible, predict and
                                                                                   prevent economic and financial crises. The Treasury
                                                                11                 Department also performs a critical and far-reaching role in
                                                                                   enhancing national security by implementing economic
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                                                                12                 sanctions against foreign threats to the U.S., identifying and
                                                                                   targeting the financial support networks of national security
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                                                                                   threats, and improving the safeguards of our financial systems.1
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                                                                14           15.   This Court has jurisdiction under 28 U.S.C. §§ 1331, and 2201-02.
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                                                                15           16.   Venue in the District of Arizona is proper under 28 U.S.C. § 1391(e) because:
                                                                16   (1) Governor Ducey resides in this district, is the State official responsible for
                                                                17   communications between the State of Arizona and the federal government, and this case
                                                                18   does not involve real property; and (2) “a substantial part of the events and omissions giving
                                                                19   rise to the claim occurred” in this district—namely, the receipt and disbursement of SLFRF
                                                                20   monies.
                                                                21                                 GENERAL ALLEGATIONS
                                                                22   I.      The Provisions of ARPA
                                                                23           17.   On March 11, 2021, President Joseph Biden signed ARPA into law.
                                                                24           18.   Section 9901 of ARPA amends Title VI of the Social Security Act (42 U.S.C.
                                                                25   § 801 et seq.) to establish the SLFRF.
                                                                26           19.   The SLFRF appropriates $219,800,000,000 to States, territories, and Tribal
                                                                27
                                                                     1
                                                                       Role of the Treasury, U.S. Department of the Treasury (last visited Jan. 20, 2022),
                                                                28   https://home.treasury.gov/about/general-information/role-of-the-treasury

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                                                                 1   governments “to mitigate the fiscal effects stemming from the public health emergency with
                                                                 2   respect to the Coronavirus Disease.” 42 U.S.C. § 802(a)(1) (emphasis added).
                                                                 3          20.    In Section 9901 of ARPA, Congress expanded on the permissible uses of
                                                                 4   SLFRF monies. 42 U.S.C. § 802(c)(1). In particular, Congress mandated in 42 U.S.C.
                                                                 5   § 802(c)(1) that the funds be used for one of four purposes:
                                                                 6                 (A) to respond to the public health emergency with respect to
                                                                                   the Coronavirus Disease 2019 (COVID–19) or its negative
                                                                 7                 economic impacts, including assistance to households, small
                                                                                   businesses, and nonprofits, or aid to impacted industries such as
                                                                 8                 tourism, travel, and hospitality;
                                                                 9                 (B) to respond to workers performing essential work during the
                                                                                   COVID–19 public health emergency by providing premium
                                                                10                 pay to eligible workers of the State, territory, or Tribal
                                                                                   government that are performing such essential work, or by
                                                                11                 providing grants to eligible employers that have eligible
                                                                                   workers who perform essential work;
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                                                                12
                                                                                   (C) for the provision of government services to the extent of the
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                                                                                   reduction in revenue of such State, territory, or Tribal
                                                                                   government due to the COVID–19 public health emergency
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                                                                                   relative to revenues collected in the most recent full fiscal year
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                                                                                   of the State, territory, or Tribal government prior to the
                                                                15                 emergency; or
                                                                16                 (D) to make necessary investments in water, sewer, or
                                                                                   broadband infrastructure.
                                                                17
                                                                18          21.    In 42 U.S.C. § 802(c)(2), Congress described two restrictions on the use of
                                                                19   SLFRF monies:
                                                                20                  (A) IN GENERAL.—A State or territory shall not use the
                                                                                   funds provided under this section or transferred pursuant to
                                                                21                 section 803(c)(4) of this title to either directly or indirectly
                                                                                   offset a reduction in the net tax revenue of such State or territory
                                                                22                 resulting from a change in law, regulation, or administrative
                                                                                   interpretation during the covered period that reduces any tax (by
                                                                23                 providing for a reduction in a rate, a rebate, a deduction, a
                                                                                   credit, or otherwise) or delays the imposition of any tax or tax
                                                                24                 increase.
                                                                25                 (B) PENSION FUNDS. —No State or territory may use funds
                                                                                   made available under this section for deposit into any pension
                                                                26                 fund.
                                                                27          22.    ARPA also provided that Treasury may provide SLFRF funds to States in
                                                                28   separate installments with the only requirement for acceptance of each installment that the

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                                                                 1   State sign a certification stating that the funds will only be used for the purposes outlined
                                                                 2   in the statute. 42 U.S.C. § 802(b)(6)(A)(ii) and (d).
                                                                 3            23.   ARPA does not contain any provisions that prohibits State, local, or Tribal
                                                                 4   governments from using SLFRF monies on programs that according to Treasury
                                                                 5   “undermine” efforts to stop the spread of COVID-19 or that require compliance with CDC
                                                                 6   recommendations or guidance—notably such provisions would put Treasury responsible
                                                                 7   for determining public health protocols, for which it is not qualified or, more importantly,
                                                                 8   statutorily-authorized.
                                                                 9            24.   In discussing the recoupment remedy, Congress explained that “[a]ny State,
                                                                10   territory, or Tribal government that has failed to comply with” 42 U.S.C. § 802(c) in its use
                                                                11   of SLFRF monies “shall be required to repay to the Secretary [of the Treasury] an amount
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                                                                12   equal to the amount of funds used in violation of such subsection.” 42 U.S.C. § 802(e).
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                                                                13            25.   Congress also provided some authority to Treasury to withhold monies based
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                                                                14   on a lack of compliance with 42 U.S.C. § 802(c): “If a State or territory is required under
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                                                                15   [42 U.S.C. § 802(e)] to repay funds for failing to comply with [42 U.S.C. § 802(c)], the
                                                                16   Secretary may reduce the amount otherwise payable to the State or territory. 42 U.S.C.
                                                                17   § 802(b)(6)(ii)(III).
                                                                18            26.   Congress also gave the Secretary of the Treasury “the authority to issue such
                                                                19   regulations as may be necessary or appropriate to carry out this section.” 42 U.S.C. § 802(f).
                                                                20   II.      Treasury’s Interim Final Rule
                                                                21            27.   On May 17, 2021, Treasury published in the Federal Register an “Interim
                                                                22   Final Rule” implementing the SLFRF. Coronavirus State and Local Fiscal Recovery Funds,
                                                                23   86 Fed. Reg. 26786 (May 17, 2021). A copy of the Interim Final Rule is attached as Exhibit
                                                                24   1.
                                                                25            28.   The Interim Final Rule described how a state could use SLFRF in order to fall
                                                                26   within one of the four categories of permissible uses described in 42 U.S.C. § 802(c)(1).
                                                                27            29.   For instance, with respect to the first category of permissible use (42 U.S.C.
                                                                28   § 802(c)(1)(A)), the Interim Final Rule described how a program could respond to the

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                                                                 1   COVID-19 public health emergency or the negative economic impacts of the pandemic. In
                                                                 2   fact, the Interim Final Rule addressed each of these two topics separately, under different
                                                                 3   headings—one section was titled “Responding to COVID–19,” while another was titled
                                                                 4   “Responding to Negative Economic Impacts.” The Interim Final Rule also explained:
                                                                 5   “While the COVID–19 public health emergency affected many aspects of American life,
                                                                 6   eligible uses under this category must be in response to the disease itself or the harmful
                                                                 7   consequences of the economic disruptions resulting from or exacerbated by the COVID–19
                                                                 8   public health emergency.” 86 Fed. Reg. at 26788 (emphasis added).
                                                                 9         30.      In the section addressing “Responding to Negative Economic Impacts,” the
                                                                10   Interim Final Rule provided that “[w]here there has been a negative economic impact
                                                                11   resulting from the public health emergency, States, local, and Tribal government have broad
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                                                                12   latitude to choose whether and how to use the Fiscal Recovery Funds to Respond to and
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                                                                13   address the negative economic impact.” 86 Fed. Reg. at 26794 (emphasis added).
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                                                                14         31.      The Interim Final Rule then detailed, on several occasions, how a state could
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                                                                15   respond to negative economic impacts of COVID-19 by addressing the educational impacts
                                                                16   of the pandemic. For instance, the Interim Final Rule stated:
                                                                17               a. “The negative economic impacts of COVID-19 also include significant
                                                                18                  impacts to children in disproportionately affected families and include
                                                                19                  impacts to education, health, and welfare, all of which contribute to long-term
                                                                20                  economic outcomes.” 86 Fed. Reg. at 26793 (emphasis added).
                                                                21               b. “Many low-income and minority students, who were disproportionately
                                                                22                  served by remote or hybrid education during the pandemic, lacked the
                                                                23                  resources to participate fully in remote schooling or live in households
                                                                24                  without adults available throughout the day to assist with online coursework.”
                                                                25                  Id. (emphasis added).
                                                                26               c. “Given these trends, the pandemic may widen educational disparities and
                                                                27                  worsen outcomes for low-income students, an effect that would substantially
                                                                28                  impact their long-term economic outcomes. Increased economic strain or

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                                                                 1                 material hardship due to the pandemic could also have a long-term impact on
                                                                 2                 health, educational, and economic outcomes of young children.” Id.
                                                                 3                 (emphasis added).
                                                                 4          32.    Accordingly, the Interim Final Rule stated that SLFRF monies may be used
                                                                 5   on: “Evidence-based educational services and practices to address the academic needs of
                                                                 6   students, including tutoring, summer, afterschool, and other extended learning and
                                                                 7   enrichment programs.” 86 Fed. Reg. at 26796. Other permissible uses of SLFRF monies
                                                                 8   include: “Evidence-based practices to address the social, emotional, and mental health
                                                                 9   needs of students.” Id.
                                                                10          33.    Although Treasury included examples of allowable uses of SLFRF monies, it
                                                                11   also noted that such examples were not exhaustive and provided the following guidelines
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                                                                12   for States to use to analyze whether programs complied with the statutory provisions: (1)
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                                                                13   “a recipient should first consider whether an economic harm exists;” and (2) whether use of
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                                                                14   the funds would “respond to” or address the harm. 86 Fed. Reg. at 26794.
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                                                                15          34.    Treasury also released a “Frequently Asked Questions” guidance document
                                                                16   about the Interim Final Rule, which similarly explained that SLFRF monies may be used to
                                                                17   “Address[] educational disparities exacerbated by COVID-19, including: early learning
                                                                18   services, increasing resources for high-poverty school districts, educational services like
                                                                19   tutoring or afterschool programs, and supports for students’ social, emotional, and mental
                                                                20   health needs.” [Exhibit 2, Coronavirus State and Local Fiscal Recover Funds Interim Final
                                                                21   Rule: Frequently Asked Questions, U.S. Department of the Treasury, at 7-8 (Jan. 2022),
                                                                22   https://home.treasury.gov/system/files/136/SLFRPFAQ.pdf.]
                                                                23          35.    The Interim Final Rule does not contain any provision that prohibits States
                                                                24   from using SLFRF monies on programs that supposedly “undermine” efforts to mitigate the
                                                                25   spread of COVID-19 or are inconsistent with any CDC guidance or recommendations
                                                                26   relating to the spread of COVID-19.
                                                                27   III.   Arizona’s Use of SLFRF Monies
                                                                28          36.    With the Interim Final Rule in place, on May 21, 2021, Matthew Gress,

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                                                                 1   Director of the Governor’s Office of Strategic Planning and Budgeting (“OSPB”), signed a
                                                                 2   certification form issued by Treasury authorizing Treasury to make SLFRF payments to the
                                                                 3   State.
                                                                 4            37.   Subsequent to that certification, the State received the first “tranche” of
                                                                 5   SLFRF funding.
                                                                 6            38.   On August 17, 2021, Governor Ducey announced the Education Plus-Up
                                                                 7   Grant Program (“Plus-Up”). Plus-Up made $163 million in ARPA funds available to
                                                                 8   Arizona school districts and charter schools that received less than $1,800 per pupil under
                                                                 9   previous programs that were also intended to mitigate the economic impacts of COVID:
                                                                10   namely, the Enrollment Stabilization Grant Program and/or the Elementary and Secondary
                                                                11   School Emergency Relief Fund.
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                                                                12            39.   Governor Ducey’s announcement of Plus-Up explained that the program “is
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                                                                13   designed to further aid in the mitigation of the economic impacts of COVID-19 and further
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                                                                14   ensure financial stability to Arizona Local Education Agencies.” State Fiscal Recovery
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                                                                15   Fund:      Education    Plus-Up     (EPU),     eCivis   (last   visited   Jan.   20,    2022),
                                                                16   https://gn.ecivis.com/GO/gn_redir/T/1sdmeoc0bsnvo.
                                                                17            40.   Consistent with this purpose, Plus-Up funds must be used on expenses
                                                                18   directly related to the mitigation of the impacts of the COVID-19 pandemic. Id. (under
                                                                19   “Eligibility” tab). Expenditures not directly related to mitigating the impacts of the COVID-
                                                                20   19 pandemic are prohibited. Id. (under “Eligibility” tab).
                                                                21            41.   To be eligible for Plus-Up grants, districts and charters may not “requir[e] the
                                                                22   use of face coverings during instructional hours and on school property (with the exception
                                                                23   of CDC transportation guidelines);” though schools have every ability to encourage
                                                                24   practices recommended by the CDC and students were not prohibited from doing so.
                                                                25   District and charters must also “remain[] open for in-person instruction as of August 27,
                                                                26   2021 and throughout the remainder of the school year.” Id. (under “Eligibility” tab).
                                                                27            42.   Also on August 17, 2022, Governor Ducey announced the COVID-19
                                                                28   Educational Recovery Benefit Program (“ERB”) program. The ERB program supplied $10

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                                                                 1   million in ARPA monies for K-12 students and families facing financial and educational
                                                                 2   barriers due to school closures and mandates.
                                                                 3          43.     To be eligible for an ERB award, K-12 students and parents must demonstrate
                                                                 4   that: (1) their household income is at or below 350% of the Federal Poverty Level; and (2)
                                                                 5   their current school is requiring the use of face coverings during instructional hours and on
                                                                 6   school property (with the exception of CDC transportation guidelines). Covid-19
                                                                 7   Educational      Recovery    Benefit,    FACTS       (last   visited     Jan.     20,    2022),
                                                                 8   https://online.factsmgt.com/grant-aid/inst/4NXJL/landing-page.         The      ERB     program
                                                                 9   provides funding of up to $7,000 per student. Id. Among other things, ERB funds may be
                                                                10   spent on school tuition, online tutoring, childcare, daycare fees, after-school care fees, and
                                                                11   before-school care fees of Arizona Department of Economic Security-contracted providers.
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                                                                12   Id.
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                                                                13          44.     The application materials for Plus-Up and the ERB both state: “The Arizona
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                                                                14   Office of the Governor supports and encourages schools informing educators, parents and
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                                                                15   students of the CDC recommendations regarding COVID-19 Mitigation Policies.” See
                                                                16   Covid-19 Educational Recovery Benefit, supra; State Fiscal Recovery Fund: Education
                                                                17   Plus-Up (EPU), supra.
                                                                18          45.     Plus-Up and the ERB both fall within the ARPA’s authorization to use
                                                                19   SLFRF monies to address the “negative economic impacts” of COVID-19. 42 U.S.C.
                                                                20   § 802(c)(1).
                                                                21   IV.    The Governor’s Office Responds to Treasury’s Concerns about Plus-Up and
                                                                22          ERB

                                                                23          46.     On October 5, 2021, Treasury wrote a letter to the Governor’s Office of
                                                                24   Strategic Planning and Budgeting (“OSPB”), asserting that Plus-Up and ERB “undermine
                                                                25   evidence-based efforts to stop the spread of COVID-19.” [Exhibit 3, Oct. 5, 2021 Letter
                                                                26   from U.S. Department of Treasury to Governor Ducey, at 1.]
                                                                27          47.     More specifically, Treasury took issue with the Plus-Up program stating that
                                                                28   the program conditions SLFRF funding on “the recipient school districts not requiring the

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                                                                 1   use of face coverings during instructional hours and on school property.” [Id.] Similarly,
                                                                 2   Treasury complained that the ERB program provides “up to $7,000 per student to families
                                                                 3   for tuition or other educational costs at a new school that does not require face coverings if
                                                                 4   the student’s current school is requiring the use of face coverings during instructional hours
                                                                 5   and on school property.”2 [Id.]
                                                                 6          48.    In the October 5 letter, Treasury, without asking for information to justify the
                                                                 7   State’s program, stated that “[a] program or service that imposes conditions on participation
                                                                 8   or acceptance of the service that would undermine efforts to stop the spread of COVID-19
                                                                 9   or discourage compliance with evidence-based solutions for stopping the spread of COVID-
                                                                10   19 is not a permissible use of SLFRF funds.” [Id. at 2.] However, Treasury did not cite any
                                                                11   text from ARPA to support its contention that Plus-Up or ERB were not permissible uses
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                                                                12   of SLFRF funds.
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                                                                13          49.    In support of its position that SLFRF funds may not be used on programs that,
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                                                                14   in Treasury’s view, “discourage compliance with evidence-based solutions for stopping the
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                                                                15   spread of COVID-19,” Treasury instead cited to pages 26786 and 26790 of the Interim Final
                                                                16   Rule. But this language is not found on page 26786 or page 26790. See 86 Fed. Reg. 26786,
                                                                17   26790. Indeed, nothing in page 26786 of the Interim Final Rule places constraints on the
                                                                18   use of SLFRF monies. Rather, that page provides “background information” about the
                                                                19   COVID-19 pandemic. See 86 Fed. Reg. at 26786.
                                                                20          50.    Similarly, nothing on page 26790 of the Interim Final Rule places constraints
                                                                21   on the use of SLFRF monies. Rather, that page sets forth certain “Eligible Public Health
                                                                22   Uses” of SLFRF monies. See 86 Fed. Reg. at 26790.
                                                                23          51.    In the October 5 letter, Treasury demanded that OSPB supply a “response
                                                                24   describing how the State will remediate the issues identified” with Plus-Up and ERB. Citing
                                                                25   31 C.F.R. § 35.10, Treasury stated that “[f]ailure to respond to or remediate may result in
                                                                26   administrative or other action.” [Ex. 3 at 2.]
                                                                27
                                                                     2
                                                                      Nothing in either the Plus-Up program or the ERB program prohibited students from
                                                                28   wearing masks or taking other precautions against COVID.

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                                                                 1          52.    The Governor’s Office responded on November 4, 2021 with a letter to
                                                                 2   Treasury detailing how these programs sought to address the negative economic impacts of
                                                                 3   COVID-19, as permitted by ARPA, and how the programs were consistent “with the
                                                                 4   guidance released by the Treasury governing the program, including the Interim Final Rule
                                                                 5   and all posted Frequently Asked Questions (FAQs).” [Exhibit 4, Nov. 4, 2022 Letter from
                                                                 6   OSPB to Treasury, at 3.]
                                                                 7          53.    Regarding Plus-Up, OSPB stated that this program “addresses educational
                                                                 8   disparities by ensuring schools have the funding necessary to effectively meet the needs of
                                                                 9   every student, regardless of their family’s income or socioeconomic status.3 Moreover, by
                                                                10   limiting funding to only schools that remain open for in-person instruction, the State is
                                                                11   addressing the significant educational disparities caused by remote learning during the
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                                                                12   COVID-19 pandemic.” [Id.]
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                                                                13          54.    Regarding ERB, OSPB stated that this program “empowers parents to
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                                                                14   exercise their freedom to make informed decisions regarding their child’s educational
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                                                                15   needs. For parents who prioritize their child’s social, emotional, and mental health needs
                                                                16   and believe a mask mandate would adversely impact their child, the program offers these
                                                                17   parents the freedom and funding to enroll their student in a different program absent of a
                                                                18   mask mandate. To reduce the spread of COVID-19 without the need for masks, Arizona
                                                                19   already offers free COVID-19 testing for all residents.” [Id. at 3-4.]
                                                                20          55.    The November 4 letter also cited specific provisions of the Interim Final Rule,
                                                                21   and Treasury FAQs on that rule, further demonstrating that Plus-Up and ERB were
                                                                22   permissible uses of SLFRF funds. [Id. at 3.]
                                                                23          56.    Additionally, the November 4 letter provided other important background
                                                                24   information supporting the two programs. For instance, the November 4 letter explained
                                                                25   that students in the “poorest 20% of U.S. neighborhoods” are most damaged by the COVID-
                                                                26   19 pandemic. [Id at 1.] It also noted that, according to the CDC, COVID-19 “has a lower
                                                                27
                                                                     3
                                                                      This funding was necessary because of the grossly disproportionate distribution of federal
                                                                28   funding to some schools over others when all schools suffered effects from COVID-19.

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                                                                 1   likelihood of transmission among students.” [Id.] “Indeed, in the United Kingdom, frequent
                                                                 2   rapid testing was found to be effective at reducing the transmission of the Delta COVID-19
                                                                 3   variant amongst students, even if students did not wear masks.” [Id.] The November 4 letter
                                                                 4   further stated that “experts have warned that masks can be harmful to children's emotional
                                                                 5   development, as seeing faces and reading emotional queues are critical for school-aged
                                                                 6   children.” [Id. at 2.]
                                                                 7   V.     Treasury Issues a Final Rule Attaching New, Unlawful Restrictions on the Use
                                                                            of SLFRF Funds.
                                                                 8
                                                                 9          57.      On January 6, 2022, Treasury issued a Final Rule that “adopt[ed] as final the

                                                                10   interim final rule published on May 17, 2021 with amendments.” [Exhibit 5, Final Rule, at

                                                                11   1.]
                                                                            58.      One such “amendment” added in the Final Rule, though, was a wholesale
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                                                                12
                                                                     change to the previous provisions that is not supported by ARPA. That amendment is a
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                                                                13
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                                                                     purported prohibition on using SLFRF funds on a “program or service that imposes
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                                                                15   conditions on participation or acceptance of the service that would undermine efforts to stop

                                                                16   the spread of COVID-19 or discourage compliance with recommendations and guidelines

                                                                17   in CDC guidance for stopping the spread of COVID-19.” [Id. at 346 (also explaining that

                                                                18   “recipients may not use funds for a program that undermines practices included in the

                                                                19   CDC’s guidelines and recommendations for stopping the spread of COVID-19”); see also

                                                                20   id. at 10, 58 (similar).]

                                                                21          59.      Supposedly impermissible “programs or services” to be determined by

                                                                22   Treasury include “programs that impose a condition to discourage compliance with

                                                                23   practices in line with CDC guidance (e.g., paying off fines to businesses incurred for

                                                                24   violation of COVID-19 vaccination or safety requirements), as well as programs that require

                                                                25   households, businesses, nonprofits, or other entities not to use practices in line with CDC

                                                                26   guidance as a condition of receiving funds (e.g., requiring that businesses abstain from

                                                                27   requiring mask use or employee vaccination as a condition of receiving SLFRF funds).”

                                                                28   [Id. at 346.]


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                                                                 1          60.    The Final Rule does not cite any statutory text from ARPA to support this
                                                                 2   new prohibition. No such text exists.
                                                                 3          61.    The prohibition on using SLFRF funds for programs that allegedly
                                                                 4   “undermine” constantly changing CDC recommendations related to COVID-19 mitigation
                                                                 5   efforts is also not found in the Interim Final Rule.
                                                                 6          62.    Treasury is not a public health agency and does not have expertise in stopping
                                                                 7   the spread of COVID-19.
                                                                 8          63.    The effective date of the final rule is April 1, 2022. [Id. at 1.] Until the Final
                                                                 9   Rule becomes effective, the Interim Final Rule remains binding and effective. [Id. at 121.]
                                                                10   VI.    Citing the Final Rule, Treasury Demands Action by the Governor Within 60
                                                                11          Days.
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                                                                12          64.    On January 14, 2022, Treasury sent another letter to the Governor’s Office,
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                                                                13   once again raising concerns with Plus-Up and ERB. The letter re-iterated Treasury’s flawed
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                                                                     position that SLFRF monies may not be used on programs that supposedly “undermine”
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                                                                15   efforts to stop the spread of COVID-19 and that Plus-Up and the ERB supposedly fail that
                                                                16   test because of how they address school mask mandates. [Exhibit 6, Jan. 14 Letter from
                                                                17   Treasury to OSPB, at 1-2.] Based on this, Treasury claimed that the Plus-Up program and
                                                                18   the ERB program “as currently structured are ineligible uses of SLFRF funds.” [Id. at 2.]
                                                                19          65.    Similar to its previous letter, Treasury did not point to any statutory text from
                                                                20   ARPA to support its position. The January 14 letter does not even cite 42 U.S.C. § 802(c)
                                                                21   or any other provision of the ARPA.
                                                                22          66.    The January 14 letter instead makes the irrelevant point that “the Interim Final
                                                                23   Rule permits SLFRF funds to be used for a range of COVID-19 mitigation strategies,
                                                                24   including face coverings, vaccination programs, and improved ventilation.” [Id. at 1 n.1.]
                                                                25   But this is simply one of the non-exclusive, possible uses of SLFRF monies. There is no
                                                                26   mandate in ARPA, or the Interim Final Rule, that SLFRF monies be used on “COVID-19
                                                                27   mitigation strategies.”
                                                                28          67.    At different points, the January 14 letter also cites the Final Rule. Most

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                                                                 1   relevant here, the January 14 letter asserts: “[t]he Final Rule, which was issued on January
                                                                 2   6, 2022, further clarifies how SLFRF funds may be used, including that a recipient may not
                                                                 3   use SLFRF funds for a program, service, or capital expenditure that includes a term or
                                                                 4   condition that undermines efforts to stop the spread of COVID-19.” [Jan. 14 Letter at 1 n.1.]
                                                                 5           68.   The January 14 letter does not acknowledge that the Final Rule only becomes
                                                                 6   effective on April 1, 2022. Nor did Treasury provide any basis for giving the Final Rule
                                                                 7   retroactive effect to recoup previously distributed SLFRF monies. See, e.g., Afanador v.
                                                                 8   Garland, 11 F.4th 985, 991 (9th Cir. 2021) (“When an agency engages in formal
                                                                 9   rulemaking, the rules it promulgates are analogous to legislation and are construed to apply
                                                                10   only prospectively (unless Congress has expressly authorized it to promulgate a
                                                                11   retroactively applicable rule).”).
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                                                                12           69.   Nevertheless, the January 14 letter used that not-yet-effective Final Rule to
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                                                                13   demand action by the Governor. In particular, Treasury stated that the Governor must “(i)
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                                                                14   redirect SLFRF funds to eligible uses or (ii) remediate the issues with the Education Plus-
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                                                                15   Up Grant Program and the COVID-19 Educational Recovery Benefit Program by
                                                                16   redesigning the programs to eliminate any elements that are inconsistent with the purpose
                                                                17   and requirements of the SLFRF program.” [Ex. 6 at 2.]
                                                                18           70.   Treasury described two consequences from a lack of compliance with its
                                                                19   demands. First, it stated that “[f]ailure to take either step within sixty (60) calendar days
                                                                20   may result in Treasury initiating an action to recoup SLFRF funds used in violation of the
                                                                21   eligible uses.” [Id.] Second, Treasury stated that it “may also withhold funds from the State
                                                                22   of Arizona’s second tranche installment of SLFRF funds until Treasury receives
                                                                23   information that confirms that the issues described above have been adequately addressed.”
                                                                24   [Id.]
                                                                25           71.   In light of this history, there is no question that this controversy is ripe and
                                                                26   that Governor Ducey has Article III standing. Treasury had no statutory authority to require
                                                                27   the State to use SLFRF monies in a manner that, pursuant to Treasury’s sole discretion,
                                                                28   would not undermine efforts to stop the spread of COVID-19. Instead, Treasury, in an

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                                                                 1   abuse of discretion, issued the Final Rule well in excess of its statutory authority. With the
                                                                 2   recent issuance of the Final Rule, however, Treasury has demanded that Governor Ducey
                                                                 3   either comply with the Rule—even though it far exceeds Treasury’s statutory authority—
                                                                 4   or else face recoupment and withholding of SLFRF monies within 60 days.4 The Governor’s
                                                                 5   Office will not eliminate or change the Plus-Up and ERB programs to conform to
                                                                 6   Treasury’s unlawful dictates. The concrete and particularized injury-in-fact to the Governor
                                                                 7   is therefore actual or imminent, not conjectural or hypothetical. See, e.g., Skyline Wesleyan
                                                                 8   Church v. Cal. Dep’t of Managed Health Care, 968 F.3d 738, 748 (9th Cir. 2020); Bishop
                                                                 9   Paiute Tribe v. Inyo Cty., 863 F.3d 1144, 1153-54 (9th Cir. 2017).
                                                                10                                   FIRST CAUSE OF ACTION
                                                                11                 (Violation of the Administrative Procedure Act—Final Rule)
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                                                                12          72.     Governor Ducey incorporates the allegations in the preceding paragraphs as
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                                                                13   if fully set forth herein.
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                                                                14          73.     The Administrative Procedure Act (“APA”) authorizes the Court to hold
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                                                                15   unlawful and set aside agency action that is “in excess of statutory jurisdiction, authority,
                                                                16   or limitations, or short of statutory right,” or is “arbitrary, capricious, an abuse of discretion,
                                                                17   or otherwise not in accordance with law.” 5 U.S.C. § 706(2).
                                                                18          74.     The Final Rule is a final agency action within the meaning of the APA. 5
                                                                19   U.S.C. § 551(13).
                                                                20          75.     Governor Ducey has suffered legal wrong and is adversely affected or
                                                                21   aggrieved by the Final Rule. 5 U.S.C. § 702. As stated, Governor Ducey is the party
                                                                22   authorized by Arizona law to accept and expend the SLFRF monies that Treasury seeks to
                                                                23   withhold and recoup. See A.R.S. § 41-101.01(A). The Final Rule seeks to impose new
                                                                24   conditions on how Governor Ducey may exercise this authority, and prohibit programs like
                                                                25   Plus-Up and ERB that were instituted before the issuance of the Final Rule. Indeed,
                                                                26
                                                                     4
                                                                       The Governor notes that Treasury further abused its authority by requiring the State of
                                                                27   Arizona to comply with the Final Rule before that rule ever goes into effect, since the
                                                                     response would be due to Treasury on March 15, 2022 and the rule would not go into effect
                                                                28   until April 1, 2022.

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                                                                 1   Treasury specifically cited the Final Rule as grounds to demand that Governor Ducey
                                                                 2   change these programs within 60 days or else face recoupment and withholding of SLFRF
                                                                 3   monies.
                                                                 4          76.    It is axiomatic that a federal agency must have statutory authority for the
                                                                 5   regulations it issues. See, e.g., Mexichem Fluor, Inc. v. Env’t Protection Agency, 866 F.3d
                                                                 6   451, 460 (D.C. Cir. 2017) (“The agency must have statutory authority for the regulations it
                                                                 7   wants to issue.”). “Merely because an agency has rulemaking power does not mean that it
                                                                 8   has delegated authority to adopt a particular regulation.” N.Y. Stock Exch. LLC v. SEC, 962
                                                                 9   F.3d 541, 554 (D.C. Cir. 2020).
                                                                10          77.    Here, the Final Rule far exceeds the limited statutory authority granted to
                                                                11   Treasury by ARPA. That statute did not confer Treasury with power to prohibit States from
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                                                                12   expending SLFRF monies in a manner that in Treasury’s subjective and extraordinary
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                                                                13   determination “would undermine efforts to stop the spread of COVID-19 or discourage
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                                                                14   compliance with recommendations and guidelines in CDC guidance for stopping the spread
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                                                                15   of COVID-19.” [Ex. 5 at 346].
                                                                16          78.    To the contrary, Congress specifically described the permissible uses of
                                                                17   SLFRF funds, as well as restrictions on such uses, in 42 U.S.C. § 802(c). In describing how
                                                                18   the funds may be used, Congress did not prohibit States from expending SLFRF monies in
                                                                19   a manner that Treasury subjectively believes will “undermine” COVID-19 mitigation
                                                                20   efforts or require states to follow CDC guidance in implementing programs that expend
                                                                21   SLFRF monies. Neither § 802(c), nor any other provision of ARPA, authorizes Treasury to
                                                                22   create new restrictions that are untethered to and inconsistent with the text of the ARPA.
                                                                23          79.    The first category of permissible use of SLFRF monies identified by Congress
                                                                24   discussed is particularly instructive here. That category allows SLFRF monies to be used
                                                                25   “to respond to the public health emergency with respect to the Coronavirus Disease 2019
                                                                26   (COVID–19) or its negative economic impacts.” 42 U.S.C. § 802(c)(1)(A) (emphasis
                                                                27   added). Congress used the word “or”—not “and.” At no point did Congress suggest that,
                                                                28   in addressing “negative economic impacts,” States must structure programs to comply with

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                                                                 1   COVID-19 mitigation guidance.
                                                                 2          80.    Nor is the Final Rule’s extra-statutory restriction on SLFRF monies
                                                                 3   “necessary or appropriate to carry out” Section 802 of ARPA. See 42 U.S.C. § 802(f).
                                                                 4          81.    Although the plain language of ARPA is sufficient to conclude that the Final
                                                                 5   Rule exceeds Treasury’s statutory authority, this conclusion is buttressed by the “major
                                                                 6   questions” doctrine. Under this doctrine, and as recently affirmed by the U.S. Supreme
                                                                 7   Court, courts “expect Congress to speak clearly when authorizing an agency to exercise
                                                                 8   powers of vast economic and political significance.” Ala. Assn. of Realtors v. Dep’t of
                                                                 9   Health & Human Servs., 141 S. Ct. 2485, 2489 (2021) (quotation omitted); Nat’l Fed’n of
                                                                10   Indep. Bus., 2022 WL 120952, at *3 (same).
                                                                11          82.    If Congress intended to give Treasury—which has absolutely no expertise in
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                                                                12   matters of public health—the authority to withhold or recoup tens of millions of dollars
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                                                                13   from States based on Treasury’s subjective assessment of whether a State program
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                                                                14   “undermines” COVID-19 mitigation efforts, Congress needed to “speak clearly.”
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                                                                15          83.    The need for Congress to “speak clearly” is particularly pressing where, as
                                                                16   here, Treasury’s Final Rule would “intrude[] into . . . area[s] that [are] the particular domain
                                                                17   of state law”—public health and education policy. Ala. Assn. of Realtors, 141 S. Ct. at 2489.
                                                                18   By contrast, public-health policy is completely outside the domain of Treasury, which lacks
                                                                19   the expertise required to assess whether a particular expenditure of SLFRF funds “would
                                                                20   undermine efforts to stop the spread of COVID-19.”
                                                                21          84.    Because Congress did not “speak clearly” (or, indeed, speak at all) on this
                                                                22   issue of vast economic and political significance, the Final Rule exceeds Treasury’s
                                                                23   statutory authority. It is also arbitrary, capricious, an abuse of discretion, and contrary to
                                                                24   law. The Final Rule must therefore be held unlawful and set aside pursuant to 5 U.S.C. §
                                                                25   702(2)(A) and (2)(C).
                                                                26   …
                                                                27   …
                                                                28   …

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                                                                 1                                SECOND CAUSE OF ACTION
                                                                 2      (Violation of the Administrative Procedure Act—January 14 Treasury Demand
                                                                 3                                               Letter)
                                                                 4          85.     Governor Ducey incorporates the allegations in the preceding paragraphs as
                                                                 5   if fully set forth herein.
                                                                 6          86.     The January 14 letter is a final agency action within the meaning of the APA.
                                                                 7   5 U.S.C. § 551(13).
                                                                 8          87.     Because Arizona law makes Governor Ducey responsible for accepting and
                                                                 9   expending the SLFRF monies that Treasury seeks to withhold and recoup, A.R.S. § 41-
                                                                10   101.01(A), Governor Ducey has suffered legal wrong and is adversely affected or aggrieved
                                                                11   by the January 14 letter. 5 U.S.C. § 702.
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                                                                12          88.     Treasury exceeded its statutory authority under 42 U.S.C. § 802, acted
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                                                                13   arbitrarily and capriciously, and abused its discretion, and acted contrary to law in
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                                                                14   demanding that Governor Ducey eliminate or modify the Plus-Up and ERB programs on
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                                                                15   the grounds that these programs allegedly “impose[] conditions on participation in or
                                                                16   acceptance of the service that would undermine efforts to stop the spread of COVID-19 or
                                                                17   discourage compliance with recommendations and guidelines in CDC guidance for
                                                                18   stopping the spread of COVID-19.” [Ex. 5 at 346; see also Ex. 6 at 1.].
                                                                19          89.     Nothing in ARPA authorizes Treasury to impose such conditions on SLFRF
                                                                20   monies. None of the four categories of permissible use, or the two use restrictions, in 42
                                                                21   U.S.C. § 802(c) come close to prohibiting States from expending SLFRF monies in a
                                                                22   manner that Treasury determines will “undermine” COVID-19 mitigation efforts or require
                                                                23   compliance with CDC guidance or recommendations. Nor does anything in ARPA give
                                                                24   Treasury authority to impose new conditions on how SLFRF monies are used that are not
                                                                25   found anywhere in the statutory text.
                                                                26          90.     Likewise, the Interim Final Rule fails to authorize Treasury’s action. That rule
                                                                27   does not say anything about mask mandates in schools or any other measures that
                                                                28   supposedly “undermine” COVID-19 mitigation efforts. Similarly, the Interim Final Rule

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                                                                 1   does not require States to abide secondhand, ever-changing CDC guidance in implementing
                                                                 2   programs that expend SLFRF monies.
                                                                 3          91.     The Final Rule also cannot provide any grounds for recoupment or
                                                                 4   withholding since that Rule exceeds Treasury’s authority and does not become effective
                                                                 5   until April 1, 2022.
                                                                 6          92.     Plus-Up and ERB are entirely consistent with 42 U.S.C. § 802(c) because they
                                                                 7   respond to the “negative economic impacts” of the COVID-19 pandemic by, among other
                                                                 8   things, providing economic assistance to households and schools to address the pandemic’s
                                                                 9   impact on education.
                                                                10          93.     Because Treasury’s actions have no basis in statute or the currently effective
                                                                11   regulation, Treasury has exceeded its authority, abused its discretion, and acted arbitrarily,
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                                                                12   capriciously, and contrary to law, all in violation of the APA. See 5 U.S.C. § 706(2). The
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                                                                13   January 14 letter must therefore be held unlawful and set aside pursuant to 5 U.S.C.
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                                                                14   § 702(2)(A) and (2)(C).
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                                                                15                                  THIRD CAUSE OF ACTION
                                                                16                  (Declaratory Judgment—Violation of the Spending Clause)
                                                                17          94.     Governor Ducey incorporates the allegations in the preceding paragraphs as
                                                                18   if fully set forth herein.
                                                                19          95.     Article I, § 8, cl. 1 of the U.S. Constitution (the Spending Clause) empowers
                                                                20   Congress to “lay and collect Taxes, Duties, Imposts and Excises, to pay the Debts and
                                                                21   provide for the common Defence and general Welfare of the United States.”
                                                                22          96.     If, however, Congress “desires to condition the States’ receipt of federal
                                                                23   funds,” then it “must do so unambiguously . . . enabl[ing] the States to exercise their choice
                                                                24   knowingly, cognizant of the consequences of their participation.” South Dakota v. Dole,
                                                                25   483 U.S. 203, 207 (1987) (quoting Pennhurst State Sch. & Hosp. v. Halderman, 451 U.S.
                                                                26   1, 17 (1981)) (alteration in original).
                                                                27          97.     If the Final Rule is authorized by statute (it is not), then it violates the
                                                                28   Spending Clause because the enabling statute, 42 U.S.C. § 802, is ambiguous in the strings

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                                                                 1   it attaches to the use of SLFRF monies.
                                                                 2          98.     In particular, 42 U.S.C § 802 does not give States any notice that SLFRF
                                                                 3   monies could, at some future date, be withheld or recouped based on Treasury’s
                                                                 4   determination that the State’s use of the monies “undermine[s] efforts to stop the spread of
                                                                 5   COVID-19.” And § 802 certainly does not alert States to the possibility that their use of
                                                                 6   SLFRF monies must comport with the CDC’s ever-changing COVID-19 guidance.
                                                                 7          99.     Accordingly, even if the Final Rule is somehow authorized by statute, it
                                                                 8   violates the Spending Clause.
                                                                 9                                FOURTH CAUSE OF ACTION
                                                                10             (Declaratory Judgment—Violation of the Non-Delegation Doctrine)
                                                                11          100.    Governor Ducey incorporates the allegations in the preceding paragraphs as
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                                                                12   if fully set forth herein.
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                                                                13          101.    Article I, § 1, of the U.S. Constitution vests “[a]ll legislative Powers herein
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                                                                14   granted ... in a Congress of the United States.”
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                                                                15          102.    Thus, “when Congress confers decisionmaking authority upon agencies
                                                                16   Congress must ‘lay down by legislative act an intelligible principle to which the person or
                                                                17   body authorized to [act] is directed to conform.’” Whitman v. Am. Trucking Assoc., 531
                                                                18   U.S. 457, 472-73 (2001) (quoting J.W. Hampton, Jr. & Co v. United States, 276 U.S. 394,
                                                                19   409 (1928)) (emphasis in original omitted).
                                                                20          103.    If the Final Rule is authorized by ARPA (again, it is not), then this means that
                                                                21   the Act sets forth no “intelligible principle[s]” guiding Treasury’s decisions to withhold or
                                                                22   recoup SLFRF monies.
                                                                23          104.    Rather, if the Final Rule is authorized by ARPA, then this means Treasury
                                                                24   has unfettered discretion to add new conditions on SLFRF funds, including conditions based
                                                                25   on Treasury’s beliefs about what COVID-19 mitigation strategies are appropriate, despite
                                                                26   the fact that Treasury is not a public health agency and does not have expertise in this area.
                                                                27          105.    Accordingly, if the Final Rule falls within the authority granted to Treasury
                                                                28   by ARPA, then the Act violates the non-delegation doctrine.

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                                                                 1                                    PRAYER FOR RELIEF
                                                                 2          Wherefore, Governor Ducey requests that this Court:
                                                                 3          A.     Declare that the Final Rule is unlawful and must be set aside because the Final
                                                                 4   Rule exceeds Treasury’s statutory authority, is an abuse of discretion, is arbitrary and
                                                                 5   capricious, and is contrary to law;
                                                                 6          B.     Declare that Defendants have abused their discretion, exceeded their statutory
                                                                 7   authority, and acted arbitrarily, capriciously, and contrary to law by demanding that
                                                                 8   Governor Ducey eliminate or modify existing SLFRF programs;
                                                                 9          C.     Permanently enjoin Defendants from enforcing against Governor Ducey and
                                                                10   the State of Arizona the Final Rule’s unlawful restriction on programs that allegedly
                                                                11   undermine efforts to stop the spread of COVID-19 or discourage compliance with
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                                                                12   recommendations and guidelines in CDC guidance for stopping the spread of COVID-19.
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                                                                13          D.     Permanently enjoin Defendants from withholding or recouping SLFRF
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                                                                14   monies from the State of Arizona based on the conditions of the Plus-Up and ERB
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                                                                15   programs;
                                                                16          E.     Awarding Plaintiff reasonable costs and expenses of this action, including
                                                                17   attorneys’ fees; and
                                                                18          F.     Grant other such relief as may be just and proper.
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                                                                 1      DATED this 21st day of January, 2022.
                                                                 2                                               GENERAL COUNSEL
                                                                 3
                                                                 4                                           By: /s/ Anni L. Foster
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                                                                 5                                              Office of Governor Douglas A. Ducey
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                                                                 6                                              Phoenix, Arizona 85007
                                                                 7
                                                                 8                                               SNELL & WILMER L.L.P.
                                                                 9
                                                                10                                           By: /s/ Brett W. Johnson
                                                                                                                Brett W. Johnson
                                                                11                                              Colin P. Ahler
                                                                                                                Derek C. Flint
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                                                                12                                              Ian R. Joyce
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